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                                                                                                  Civil Litigation Division, 15 Kellogg Blvd. West, 750 City Hall
                                                                                                                                                              Saint Paul, MN 55102
                                                                                                                               Tel: 651-266-8770 | Fax: 651-266-8787




February 8, 2023

Honorable Nancy Brasel
District Court Judge
United States District Court, Courtroom 13W
300 South Fourth Street
Minneapolis, MN 55415

Re: Woodstone Limited Partnership, et al. v. City of Saint Paul, et al.
    Court File No. 22-cv-01589-NEB-JFD
Dear Judge Brasel,
In light of the parties’ recent cross motions for summary judgment, I write on behalf of the City of
Saint Paul Defendants to make the Court aware of new legal authority related to the constitutionality
of various types of rent control. The Second Circuit Court of Appeals issued two separate decisions
earlier this week:

1. Cmty. Hous. Improvement Program v. City of New York, No. 20-3366-CV, 2023 WL 1769666
   (2d Cir. Feb. 6, 2023), (https://law.justia.com/cases/federal/appellate-courts/ca2/20-3366/20-
   3366-2023-02-06.html); and

2. 74 Pinehurst LLC v. New York, No. 21-467, 2023 WL 1769678 (2d Cir. Feb. 6, 2023),
   (https://law.justia.com/cases/federal/appellate-courts/ca2/21-467/21-467-2023-02-06.html.)

I have not provided copies of these cases via this letter, given the page length requirements for
letters to the Court. Please let me know if you would like me to file a supplemental declaration
providing those to the Court, or handle this in some other manner.

Thank you.
Sincerely,
s/Megan D. Hafner
Megan D. Hafner
Assistant City Attorney
(651) 266-8756
cc: Counsel of Record (via ecf)


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 M EL VI N CA RTE R , M AY O R

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